Case 1:19-cr-20178-CMA Document 166-4 Entered on FLSD Docket 10/11/2019 Page 1 of 4




   Honorable Judge Cecilia Altonaga
   Southern District of Florida
   United States District Court

   Re: sentencing of Robert Shapiro

   September 29, 2019

   Dear Judge Altonaga,

   I have been a member of the Florida Bar since 1978. I was an Assistant
   State Attorney in Broward County for five years as well as an adjunct
   Law Professor for three years at the Shepard School of Law at Nova
   Southeastern University.

   I was thinking about retirement since I was sixty-two and about to turn
   sixty-three in January, 2017 so my wife, Nancy and I had been putting
   together some retirement plans for when I did retire. She had retired a
   few years before from the Broward County Public School System as a
   teacher of Special Needs Children for thirty-six years. She receives a
   minimal pension as she was a part time employee for many years.

   Both Nancy and myself took an investment class at FAU to learn more
   about retirement and investing. The person teaching that course was
   Ferne Kornfeld. She seemed very knowledgeable. Eventually she
   introduced us to her husband, Barry and they became our investment
   brokers since as it turned out our broker who we used for years had
   retired.

   We found out later that they too were part of the Ponzi Scheme but,
   that is another story.

                                                                       GOVERNMENT
                                                                         EXHIBIT
                                                                            4
                                                                      19-20178-CR-CMA
Case 1:19-cr-20178-CMA Document 166-4 Entered on FLSD Docket 10/11/2019 Page 2 of 4




   We purchased our first Woodbridge investment around December,
   2014. Our total Woodbridge investment was $330,000.

   We were told and given literature stating that the investment was very
   safe especially for people our age and that we could expect somewhere
   between a five to ten percent return on our money. We were also
   informed that we would have a first lien on the properties which meant
   further security for us. In fact, we would not have invested if we did
   not have a lien on the properties.

   The Kornfelds informed us that both they and their relatives were
   heavily invested as well.

   The Kornfelds gave us the name and phone number of a California
   contact who we were told would give us as much time as we needed to
   answer any questions we had before we decided to invest. It appeared
   to be a safe investment and the return on our money was not
   exorbitant.

   Sometime around March, 2016 I was diagnosed with myelofibrosis. On
   October 4, 2016 I had a stem cell transplant at Moffitt Cancer Center in
   Tampa, Florida. I had to give up the practice of law (Family Law) and I
   retired due to my compromised immune system and decreased
   physical stamina.

   I presently receive photophoresis treatments (ECP) every Thursday and
   Friday (four hours each day) for my condition at Memorial West in
   Pembroke Pines, Florida.

   In addition to my wife’s pension and my Social Security Disability (which
   I started receiving in January, 2017) we began using the monthly
   Woodbridge dividends for our living expenses. Needless to say, the loss
Case 1:19-cr-20178-CMA Document 166-4 Entered on FLSD Docket 10/11/2019 Page 3 of 4




   of the $330,000 principal as well as the approximate $1,600.00 monthly
   dividends (which ended in November, 2017) has been devastating.

   The civil case against Woodbridge and Robert Shapiro was settled and
   the creditors such as Nancy and myself were supposed to receive 60%
   of our investment over three years starting December, 2018 with 10%
   of our investment. We received nothing until March, 2019 and that
   amount was approximately $14,000.00. We have received nothing
   since.

   Shapiro, on the other hand lived like a king by buying numerous
   mansions, exotic cars, paintings by the Masters and bottles of wine
   worth thousands of dollars each.

   I saved my whole life so that I could retire comfortably. I then got sick
   and when I really needed the money that my wife and I invested it was
   gone. I don’t have a pension. This money in fact was my de facto
   pension.

   This was a Ponzi Scheme and looking back it was obvious there was
   never any intention to secure the investment by a lien on the property.
   This was out and out fraud.

   Mr. Shapiro did not care what happened to his investors and we should
   not care what happens to him.

   My wife and I would ask that you sentence Mr. Shapiro to the
   maximum sentence allowed by the law with an enhancement.

   If allowed by law his sentence should be followed by probation with a
   special condition of restitution since victims will never receive anything
   near what they were supposed to receive in the civil lawsuit. Even if
   they did by some miracle, he still stole 40% of everyone’s investment.
Case 1:19-cr-20178-CMA Document 166-4 Entered on FLSD Docket 10/11/2019 Page 4 of 4




   I will be sixty-six years old in January, 2020 and Nancy will be sixty-six
   years old in May. There is no way at this stage of life that we could ever
   earn the money that Mr. Shapiro stole from us.

   Thank you for taking the time to read this letter. I would like to attend
   the sentencing but my physical condition will not allow for it.

   Sincerely,
   Andrew D. Washor
